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                   IN THE UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 In re:                                            §                   Chapter 11
                                                   §
 Alexander E. Jones                                §
                                                   §           Case No. 22-33553 (cml)
           Debtor.                                 §


                                  NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that the undersigned appears as counsel for Neil Heslin,

Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine, creditors and parties

in interest in the above referenced case, pursuant to Section 1109(b) of Title 11 of the United

States Code (“Bankruptcy Code”) and Rule 9010 of the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rules”) and hereby submits this notice of appearance and requests

notice of all hearings and conferences herein and makes demand for service of all papers herein,

including all papers and notices pursuant to Bankruptcy Rules 2002, 3017, and 9007. All notices

given or required to be given in this case shall be served upon:

                                          Avi Moshenberg
                                     Texas Bar No. 24083532
                                         1001 Fannin Street
                                             Suite 2400
                                        Houston, TX 77002
                                          P: 713-337-5580
                                          F: 713-337-8850
                                  E: avi.moshenberg@mhllp.com
          Please take further notice that the foregoing request includes notices and papers referred

 to in the Bankruptcy Rules and includes, without limitation, any plans of reorganization, notices

 of hearings, orders, pleadings, motions, applications, complaints, demands, requests, petitions,

 disclosure statements, memoranda, briefs and any other documents brought before this Court


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 with respect to these proceedings, whether formal or informal, whether written or oral, whether

 transmitted or conveyed by mail, hand delivery, telephone, telecopier, telegraph, or telex.

        Dated: December 5, 2022

                                              Respectfully submitted,

                                              MCDOWELL HETHERINGTON LLP

                                              By: /s/ Avi Moshenberg
                                              Avi Moshenberg
                                              Texas Bar No. 24083532
                                              1001 Fannin Street
                                              Suite 2400
                                              Houston, TX 77002
                                              P: 713-337-5580
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                                              E: avi.moshenberg@mhllp.com

                                              Counsel for Neil Heslin, Scarlett Lewis, Leonard
                                              Pozner, Veronique De La Rosa, and Marcel
                                              Fontaine

                                CERTIFICATE OF SERVICE


         The undersigned certifies that on December 5, 2022, a true and correct copy of the
foregoing Notice was served electronically on all parties registered to receive electronic notice of
filings in this case via this Court’s ECF notification system.




                                              /s/ Avi Moshenberg
                                              Avi Moshenberg




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